`»O/l PaQe 1 Oi 47

     

  

Fi|l in this information to identify your case:

United Stales Bankruptcy Court for the:
NORTHERN mistrial of lN

Case number Chapter you are filing under:
(lf known)

Chapter 7

Chapter 11

Chapter 12
Chapter 13 l:l Check if this is an
amended filing

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy 12/17

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a
car,” the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1
and Debtor 2 to distinguish between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2.
The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

-ldentify Yourself

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

About Debtor1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name that is on your
government~issued picture F_RED L.|LA
identification (for example, your F"St name F"St name
driver’s license or passport). L
Bring your picture Middle name Middle name
identification to your meeting
with the trustee HEARD HEARD
Last name Last name
Suffix (Sr., Jr., ll, ll|) Sufnx (Sr., Jr., ll, ll|)
2. A|l other names you have
used in the last 8 Years First name First name
include your married or
malden names. Middle name Middle name
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. On|y the last 4 digits of
your Social Security XXX " XX " _7` __§_ _:|__ _.§_ XXX * XX _ _Q_ _O__ _2_. __z__
number or federal OR OR
lndividual Taxpayer 9
ldentification number 9 XX _ XX '“__ __ __ __ XX - XX ~__ ___ _ __
(lTlN)

 

 

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 1

 

Debtor 1 FRED

First Name

Last Name

Case 18-11276-r|e|:gARDDoc 1 Filed 07/11/18Cas§1arg)teergkijg57

Middle Name

 

4. Any business names and
Employer identification
Numbers (EiN) you have
used in the last 8 years

include trade names and
doing business as names

AboutDebtor1:
m l have not used any business names or Ele.

HEARD TRUCK|NG LLC

Business name

About Debtor 2 (Spouse Only in a Joint Case):

ij l have not used any business names or E|Ns.

Business name

 

Business name

Business name

 

 

 

 

 

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing addressl

 

 

 

 

 

 

 

EiN EiN
EiN EiN
5. Where you live if Debtor 2 lives at a different address:
6722 LAKEV|EW CT.
Number Street Number Street
FORT WAYNE iN 46815 .
City Staie ZlP Code City State Z|P Code
ALLEN
County County

if Debtor 2’s mailing address is different from the
one above, fill it in here. Note that the court will
send any notices to you at this mailing address.

 

 

 

 

this district to file for
bankruptcy

 

Over the last 180 days before filing this petition, l
have lived in this district longerthan in any other
district.

i:i l have another reason. EXp|ain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Number Street Number Street
City Slaf€ Z|P Code City State ZIP Code
6. Why you are choosing Checl< one: Check or)e.l

Over the last 180 days before filing this petition, i
have lived in this district longer than in any other
district

i:i l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 2

 

 

Case 18-11276-r|eQARDDOC 1 Filed 07/11/180333M§r§k 157

 

 

 

Debtor 1 FRED ow
First Name Middle Name Last Name
m Tell the Court About Your Bankruptcy Case
7. The chapter of the Checl< one. (For a brief description of each, see Notice Requlred by 11 U.S.C. § 342(b) for individuals
Bankruptcy Code you are Filing for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under Chapter 7
i:i Chapter 11
i:i Chapter 12
i:i Chapter 13
8. How you will pay the fee l will pay the entire fee when l file my petition. Please check with the clerk’s office in

your local court for more details about how you may pay. Typicaily, if you are paying the
fee yourself, you may pay With cash, cashiers check, or money order. if your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or
check with a pre~printed address

 

 

 

 

i:i i need to pay the fee in installments. lf you choose this option, sign and attach the
Application for individuals to Pay Your Filing Fee in installments (Official Form 103A).
i:i l request that my fee be waived (You may request this option only if you are filing for
Chapter 7. By law, a judge may, but is not required to, Waive your fee, and may do so only
if your income is less than 150% of the official poverty line that applies to your family size
and you are unable to pay the fee in installments). if you choose this option, you must fill
out the App/ication to Have the Chapter 7 Filing Fee Waived (Officiai Form 103B) and file
it with your petition.
9. Have you filed for |] NO
bankruptcy within the last
3 years? Yes District NORTHERN lN When 07/22/2016 Case number 16-11536
MM / DD/YYYY
District When Case number
Ml\il / DD/Y¥YY
District When Case number
MM / DD/YYYY
10.Are any bankruptcy NO
cases pending or being
filed by a Spouse Who is i:i Yes Debtor Relationship to you
not filing this case with _ _ _ Wh b _fk
you, or by a business District en MM/DD/YYYY Case num er, i nown
partner, or by an affiliate?
Debtor Relationship to you
District When Case number, if known
MM / DD/YYYY

 

11.Do you rent your
residence? m

 

No. Go to line 12.
Yes. Has your landlord obtained an eviction judgment against you?

i:i No. co to line 12.

i:i Yes. Fill out initial StaiementAbOL/l an Eviction JudgmentAgainst You (Form 101A) and file
it with this bankruptcy petition.

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 3

 

 

Debtor 1 FRED

Case 18-11276-rFEg`RDDoc 1 Filed 07/11/18038€F;lang g of 47

er (i known)

First Name Middle Name Last Name

Report About Any Businesses You Own as a Sole Proprietor

 

 

 

 

 

 

14.

Chapter 11 of the
Bankruptcy Code and are
you a small business
debtor?

For a definition of small

business debtor, see 11
U.S.C. § 101(51D).

Do you own or have any
property that poses or is

alleged to pose a threat of

imminent and identifiable
hazard to public health or
safety? Or do you own
any property that needs
immediate attention?

For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

12. Are you a sole proprietor NO_ 90 to part 4'

of any fuil- or part-time

business? i:i Yes. Name and location of business

A sole proprietorship is a

business you operate as an _

individual, and is not a Name Of business lfany.

separate legal entity such as a

corporation, paitnership, or

LLC' Number Street

if you have more than one sole

proprietorship, use a separate

sheet and attach it to this

petition.

City State ZlP Code
Checi< the appropriate box to describe your business.'
[._.] Health Care Business (as defined in 11 U.S.C. § 101(27A))
i:i Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
ij Stockbrol<er (as defined in 11 U.S.C. § 101(53A))
i:i Commodity Broker (as defined in 11 U.S.C. § 101(6))
i:i None of the above
13. Are you filing under /f you are filing under Chapter 11, the court must know Whether you are a small business debtor so that it

can set appropriate deadlinesl if you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations cash-flow statement, and federal income tax return or
if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

No. l am not filing under Chapter 11.

i___i No. l am filing under Chapter 11, but | am NOT a small business debtor according to the definition
in the Bankruptcy Code.

i:i Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

No
i:i Yes.Whatisthehazard?

 

 

if immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

city state _`ziP code

 

Officia| Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 4

 

 

Debior 1 FRED

First Name

Middle Name

Last Name

Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether
you have received
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must truthfully
check one of the following
choices if you cannot do so,
you are not eligible to file.

if you file anyway, the court can
dismiss your case, you will lose
whatever filing fee you paid,
and your creditors can begin
collection activities again.

 

About Debtor 1:

You must check one:

l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any,» that you developed with the agency.

i:i l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have
a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you lVlUST file a copy of the certificate and
payment plan, if any,

i:i l certify that l asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days afteri made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30~day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you Were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons you must
still receive a briefing within 30 days after you file.
You must nle a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed

Any extension of the 30~day deadline is granted
only for cause and is limited to a maximum of 15
days

i:i l am not required to receive a briefing about

credit counseling because of:

i:i lncapacity. l have a mental illness ora
mental deficiency that makes me
incapable of realizing or making
rational decisions about finances

lilly physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even afterl
reasonably tried to do so,

l:i Disabiiity.

i:i Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a

motion for waiver of credit counseling with the court.

Case 18-11276-reEg\RDDoc 1 Filed 07/11/1803$§`§1"%§0$}(01 37

nOW

About Debtor 2 (Spouse Only in a Joint Case):

You must check one.'

l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency,

i:i l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have
a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you iVlUST file a copy of the certificate and
payment plan, if any.

i:i l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30~day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to tile this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

if the court is satisfied with your reasons you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30~day deadline is granted
only for cause and is limited to a maximum of 15
days.

i:i l am not required to receive a briefing about
credit counseling because of:

i:i lncapacity. l have a mental illness ora
mental deficiency that makes me
incapable of realizing or making
rational decisions about finances

[:i Disability. lVly physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l

reasonably tried to do so,

i:i Active duty. l am currently on active military
duty in a military combat zone.

lfyou believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

 

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 5

 

Debior 1 FRE[)

Firsi Name

Case 18-11276-%2Eq\RDD00 1 Filed 07/11/1Eicasei:;f'jing,eter(§knool;Vn 7

Middle Name

Last Name

Answer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

16a Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, fami|y, or household purpose.”
El No. eo to line iob.
Yee. soto line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain

money for a business or investment or through the operation of the business or investment
No. Go to line 160.
i:l Yee. co to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and

i:i No. l am not filing under Chapter 7. Go to line 18.

Yes i am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

 

administrative expenses No
are paid that funds will be |:| Yes
available for distribution
to unsecured creditors?
ia. How many creditors do 1-49 i:| 1,000-5,000 i:l 25,001-50,000
you estimate that you l'_'] 50-99 ij 5,001-10,000 i:l 50,001-100,000
°We? l:i 100-199 [:] 10,001-25,000 l:l lvlore then 100,000
|Ii 200~999
19. How much do you $0~$50,000 i:i $1,000,001-$10 million i:i $500,000,001-$1 billion
estimate ,i)l°ura$$et$ t° i:i $50,001~$100,000 l:l s10,000,001-$50 million [_'.i $1,000,000,001-s10 billion
be W°rth' l:i sioo,ooi~$soo,ooo i:i $50,000,001-$100 million i:i $10,000,000,001-$50 billion
ill $500,001~$1 million l'_'l $100,000,001-$500 million l:i lvlorethen $50 billion
zo, How much do you l:l $0~$50,000 i:i $1,000,001~$10 million ij $500,000,001~$1 billion
es§;mate your “abi“ties to El $50,001-$100,000 l:i $10,000,001-$50 million lIi $1,000,000,001-$10 billion
be' sioo,ooi-seoo,ooo l:l $50,000,001~$100 million l:l $10,000,000,001-$50 billion
lIi ssoo,ooi-si million [J $100,000,001~$500 million ij lvioretnan soo billion

 

Sign Below

 

Foryou

 

l have examined this petition, and l declare under penalty of perjury that the information provided is true and
correct.

lfl have chosen to file under Chapter 7, l am aware that l may proceed, ifeligible, under Chapter 7, 11, 12, or
13 of title 11, United States Code. l understand the relief available under each chapter, and l choose to proceed
under Chapter 7.

if no attorney represents me and i did not pay or agree to pay someone who is nolan attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statementy concealing property, or obtaining money or property by fraud irl connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years or both.

18 U.S.C. §§ 152, 1341 1519, and 3571.
@ misuse mut

    

l

/

 

    
     

ignature of Debtor 1 Signature of Debtor 2
><Executed on ;; 2//; //é >< Executed on l 2 w zdi<{
M /DD YYYY MM/DD/YYYY

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 6

 

 

 

Debtor 1 FRED

Case 18-11276-re!g Doc 1 Filed 07/11/18 Pa e 7 of 47
H ARD c

ase nu er (if known)

First Name Middle Name Last Name

 

For your attorney, if you are
represented by one

if you are not represented by
an attorney, you do not need
to file this page.

l, the attorney for the de r(s) named in this petition, declare that l have informed the debtor(s) about
eligibility to proceed und r hapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
relief available under ea h hapter forwhich the person is eligib|e. l also certify that l have delivered to the
debtor(s) the notice requ re by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies certify that l
have no knowledge after n i uiry that the information in the schedules filed with the petition is incorrect

Dafe _:Z;._CZ;£§

SiAgnature of Attomey for D to \ l\/ii\/l / DD l YYYY

 

 

FRED WEHRWE|N
Printed name

FRED WEHRWE|N, P.C.
Firm name

1910 ST. JOE CENTER RD.,
Number Street

52 PAPERl\/l|LL OFF|CE PARK

 

 

 

 

FORT WAYNE iN 46825

City State ZlP Code

Contact phone 260-480-5700 Emaii address WEHRWElNPC@AOL.COi\/i
1405~02 iN

Bar number State

 

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 7

 

     

 

 

 

 

Case 18-11276-reo Doc 1 Filed 07/11/18 Page 8 of 47
Fill in this information to identify your case:

Debtor1 FRED HEARD

First Name Middle Name Last Name
bebioiz l_lLA l_. HEARD
(Spouse. if n|lng) Flrst Name Middle Name Last Name
United States Bankruptcy Court for the: NORTHERN Disincioi lN
Case number
("k“°W") [:i Cheok if this is an amended filing.

 

 

oiiioiel Form ioesum

Summary of Your Assets and Liabilities and Certain Statistical information 12/15

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. if you are filing amended schedules after you file

your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

 

1a. Copy line 55, Total real estate, from Schedule A/B ...................................................................................................... $ .._____§iM
1b. Copy line 62, Total personal property, from Schedule A/B ............................................................................................ $ 3 721_0()
ic. Copy line 63, Total of all property on Schedule A/B ..................................................................................................... $ 13 198'00

 

 

 

- Summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D.' Creditors Who Have Claims Secured by Propen‘y (Offlcial Form 106D)

 

 

 

 

 

2a Copy the total you listed in Column A, Amount ofc/aim, at the bottom of the last page of Part 1 of Schedule D ........... $ M
3. Schedule E/F.' Creditors Who Have Unsecured C/aims (Officia| Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ........................................ $ ----M
3b. C th total l im fr m Part 2 n ri rit unsecured claims from line 6' of S hedu/e E/F ...................................
opy e ca s o (onp o y ) j c +$ 103 870.00
Your total liabilities $ 264,475.00
i- Summarize Your income and Expenses
4. Schedule /.l Your/ncome (Official Form 106|)
Copy your combined monthly income from line 12 of Schedule / ....................................................................................... $ M
`5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22, Column A, of Schedule J ................................................................................ $ 6,51 OtOO

 

 

Official Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 1 of 2

 

 

Case 18-11276-reg Doc 1 Filed 07/11/18 Page 9 of 47
Debtor1 FRED HEARD Case number (ifknown)

First Name Middle Name Last Name

 

Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or13'?
i:i No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

Yes

 

7. What kind of debt do you have?

Your debts are primarily consumer debts Consumer debts are those “incurred by an individual primarily for a persona|,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8~10 for statistical purposes 28 U.S.C. § 159.

i:i Your debts are not primarily consumer debts You have nothing to report on this part of the form. Check this box and
submit this form to the court with your other schedules

 

 

8. From the Statement of Your Current Month/y Income: Copy your total current monthly income from Official e. O
Form122A~1 Line11;OR, Form 122B Line11;OR, Form122C-1 Line 14. $ b il"il?i 0

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the governmentl (Copy line 6b.) $ 82.00
90. Claims for death or personal injury while you were intoxicated (Copy line 6c.) , $ 0.00
9d. Student loans (Copy line 6f.) $ 0.00
9e. Ob|igations arising out'of a separation agreement or divorce that you did not report as $ 000

priority claims (Copy line Gg) *"'____”°_
9f. Debts to pension or profit~sharing plans and other similar debts (Copy line 6h.) + $ 0.00
99. Total. Add lines 9a through 9f. $ 82.00

 

 

 

 

 

 

Official Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 2 of 2

 

CaS€ 18-11276-|’€0 DOC 1 Filed 07/11/18

Fill in this information to identify your case:

Page 10 of 47

     

Debtor1 FRED HEARD

Firsl Name Middle Name Last Name

Debtor 2 i_i LA L HEARD

(Spouse, it t'lllng) Firsl Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN Distiiotoi lN

Case number
(ifknown) l:i Check if this is an amended filing.

 

Official Form 106A/B
Schedule AlB Property 12/15

in each category, separately list and describe items List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possibie. if two married people are filing together, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional
pages write your name and case number (if known). Answer every question.

Describe Each Residence, Buiiding, Land, or Other Real Estate You Own or Have an interest in

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

i:i No. Go to Part 2.
Yes Where is the property?

 

 

 

 

 

 

 

What is the property? Check ali that app|y. Do not deduct secured claims or exemptions Put
. _ - the amount of any secured claims on Schedule
. S'"g'e fam"y h_°m? _ _ D.~ creditors Who Have claims secured by
1.1. 6722 LAKEV{EW CT_ i:i Duplex or multi-unit building propeny_
Street address if available, or other description |___l Condominium Or Cooperative
i:i . Current value of the Current value of the
i\/lanufactured or mobile home entire property? portion you own?
i:i Land
i:i investment property $ 125 OOO'OO $ 9 477,00
i:i Timeshare
|:| Other Describe the nature of your ownership
FORT WAYNE iN 46815 interest (such as fee simpie, tenancy by
City State ZlP Code the entireties or a life estate), if known.

Who has an interest in the property? Check one.

i:i Debtor 1 only
i:i Debtor2 only
i:i Debtor1 and Debtor2 only i:i Check if this is community

é\(l)-li]-n§;`i i:i At least one of the debtors and another Property (See instiuctions)

 

 

Other information you wish to add about this item, such as local
property identification number:

 

if you own or have more than one, list here:

 

 

 

 

 

 

What is the property? Check all that apply. Do not deduct secured claims or exemptions Put
m iiis;:;ii:::nri:::f§tii:"i:::,::i;d”'e
1.2. i:i Duplex or multi-unit building propeny,
Street address ifavailable, or other description i:i Condominium or Cooperaiive
m Manufactured or mobile home Current value of the Curr_ent value of the
entire property? PO\'flOn You OWn?
i:i Land
i:i investment property $ $
i___i Timeshare
i:| Other Describe the nature of your ownership
interest (such as fee simple, tenancy by
City State ZlP Code the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
i:i Debtor1 only
i:i Debtor 2 only
i.__i Debtor1 and Debtor 2 only i:i Check if this is community
i:i At least one of the debtors and another property (See instructions)

 

County
Other information you wish to add about this item, such as local
property identification number:

 

 

 

Official Form 106A/B Schedule A/B: Property page 1

 

 

 

Case 18-11276-reg Doc 1 Filed 07/11/18|:’@1%€ 11 of 47
H ARD Cuasen

 

Debtor1 FRED ber (if known)
First Name Middle Name Last Name
' ')
What ls the property' Check an that app|y` Do not deduct secured claims or exemptions Put
i:i Single-famiiy home the amount of any secured claims on Schedule D:
1_3` Dupiex cr muiti_unii buiiding Creditors Who Have Ciaims Secured by Property.

 

Street address if available, or other description

 

 

City State ZlP Code

 

County

l:i

i:i Condominium or cooperative
i:i l\ilanufactured or mobile home
i:i Land
i:i investment property
i:i Timeshare
Emm

 

Who has an interest in the property? Check one.

m Debtor 1 only

i:i Debtor2 only

i:i Debtor1 and Debtor 2 only

i:i At least one of the debtors and another

 

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simpie, tenancy by
the entireties, or a life estate), if known.

 

i:i Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

2. Add the dollar value of the portion you own for all of your entries from Part1, including any entries for pages
you have attached for Part 1. Write that number here .................................................................................... 9

 

$ 9,477.00

 

 

 

Part 2: Describe Your Vehicies

 

Leases.

i:i No

Yes

3.1. Make: M_____
l\ilodel: SUBURBAN
Year: 2015

Approximate mileage:

56 000

Other information:

 

 

 

 

3.2. lVlake: Gl\ilC
l\ilodel: TRUCK
Year: 2008
Approximate mileage: 138,000

Other information:

 

 

 

 

 

if you own or have more than one, describe here:

3. Cars, vans, trucks, tractors sport utility vehicles, motorcycles

Who has an interest in the property? Check one.

Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

i:l [][]H[:i

Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one ofthe debtors and another

H[]i:ii:i

Do you own, lease, or have legal or equitable interest in any vehicles whether they are registered or not? include any
vehicles you own that someone else drives if you lease a vehicle, also report it on Schedule G.' Executory Contracis and Unexpired

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Ciaims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

$ ____LMM. $ O~OO

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Ciaims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

 

i:i Check if this is community property (see
SON|S VEHiCLE instructions) $ 9 000`00 $ O'OO
Official Form 106A/B Schedule A/B: Property page 2

 

 

 

 

 

 

 

 

 

 

 

Debtor1 FRED Case 18-11276-rE§Ang)00 1 Filed 07/11/18 Casl;>¥a]gteer%§no in)47
First Name Middle Name Last Name
3_3, l\/lal<e: Wh° has an interest in the property? Check °ne» Do not deduct secured claims or exemptions Put

the amount of any secured claims on Schedule D:

l\/iodei: § §e:;°;; :::; Creditors Who Have C/aims Secured by Property

e o
Year: i:i Debtor1 and Debtor 2 only Current value of the Current value of the
' ' ~ l:l At least one of the debtors and another entire Property? Pol'tion you oWn?
Approximate mileage
Other information: _ _ _
i:l Check if this is community property (see
instructions) $ $
3,4_ l\/iake: Wh° has an interest in the Property? Check °ne- Do not deduct secured claims or exemptions Put

the amount of any secured claims on Schedule D.'

l\/lode|: § §::::r; 0::y Creditors Who Have C/aims Secured by Property

r o y

Yoan l:i Debtor1 and Debtor2 only Current value of the Current value of the

Approximate mileage i:] At least one of the debtors and another entire Property? portion you own?

Other information: _ _ _ _

m Check if this is community property (see

 

 

 

 

instructions)

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examp/es.' Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

-..No
i:i Yes

4_1. l\/lake:
l\/lodel:
Year:

Other information:

 

 

 

 

if you own or have more than one, list here:

 

 

 

 

Who has an interest in the property? Check one.

[:l i:li:ll:|[|

Who has an interest in the property? Check one.

Debtor1 only

Debtor 2 only

Debtor1 and Debtor 2 only

At least one of the debtors and another

Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

 

 

 

 

4.2. |\/|ake; Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
ll/|ode|: § §e::e; l ;::; Creditors Who Have C/aims Seoured by Property.
e o

Year: i:i Debtor1 and Debtor 2 only Current value of the Current value of the

Other info[mation; i:] At least one of the debtors and another entire Property? Portion you oWn?

ij Check if this is community property (see
instructions) $ $

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages $ 0 00

you have attached for Part 2. Write that number here ....................................................................................................................... 9 "

 

 

 

Official Form 106A/B

Schedule A/B: Property

page 3

 

 

Case 18-11276-reg Doc 1 Filed 07/11/18 Page 13 of
H ARD Casen

Debtor 1 FRED u ber ii known

First Name Middle Name Last Name

47
)

 

m Describe Your Personal and Household items

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examp/es: l\/lai`or appliances furniture, linens china, kitchenware

i:l..No

 

Yes Describe APPL|ANCES, FURN|TURE

 

 

 

7. Eiectronics

Examp/es: Televisions and radios; audiol video, stereo, and digital equipment; computers printers scanners; music
collections; electronic devices including cell phones cameras media players games

 

i:i.`No

. 5 TELEVIS|ONS, 1 STEREO, 1 COl\/lPUTER, 1 PR|NTER, 2 CELL PHONES, 2 lVlEDlA
-..Yes, Describe .....

PLAYERS

 

 

 

8. Coliectibles of value

Examples.'Antiques and figurines; paintings prints or other artwork; books pictures or other art objects
stamp, coln, or baseball card collections; other collections memorabilia, collectibles

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

$ 1 000.00

$ 1,200.00

 

 

-`.No

i:l..Yes. Describe ..... $
9. Equipment for sports and hobbies /

Examp/es.' Sports, photographic, exercise, and other hobby equipment; bicycles pool tables golf clubs skis;

canoes and kayaks; carpentry tools; musical instruments

E"N° 4 BicYci_Es

-..Yes Describe ..... $ 200.00
10. Firearms

Examp/es.' Pistols rifles shotguns ammunition, and related equipment

i:i..No

I.,Yes. Describe ..... i SM'TH & WESSON p'STOL s 400.00
11. Clothes

Examp/es.' Everyday clothes furs leather coats designer wear, shoes accessories

i:]..No

-..Yes Describe ..... EVERYDAY CLOTH'NG $ 500_00
12. Jewelry d

Examp/es: Everydayjeweiry, costume jewelry, engagement rings wedding rings heirloom jewelry, Watches, gems

gold, Silver

E"NO WEDDING RlNG EVERYDAY JEWELRY

-..Yes. Describe ..... ' $ 250.00
13. Non-farm animals

Examp/es.' Dogs, cats birds horses

[:i..No

l..YeS. Describe ..... i DOG s 50.00
14. Any other personal and household items you did not already list, including any health aids you did not list

-..No

E..Yes. Describe ..... $
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have $ 3 600 00

attached for Part 3. Write that number here .................................................................................................................................. 9 '

 

 

Official Form 106A/B Schedule A/B: Property

page 4

 

 

Case 18-11276-reg Doc 1 Filed 07/11/18 Page 14 of 47

Debtor1 FRED HEARD Case number (if known)

First Name Middle Name Last Name

Describe Your Financial Assets

 

Do you own or have any legal or equitable interest in any of the foilowing?

16. Cash
Examples: l\/loney you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

[:]No

17. Deposits of money
Examp/es: Checking, savings or other financial accounts certificates of deposit; shares in credit unions brokerage
\ houses and other similar institutions if you have multiple accounts with the same institution, list each,

 

 

 

 

 

 

 

 

 

 

 

 

 

Current value of the
portion you own?
Do not deduct secured
claims or exemptions

X
Yes ................................................................................................................................................................... Cash: llllllllllllllllll $ 2000

 

m No
Yes .................. institution name:
17.1. Checking account: FlFTH TH|RD BANK $ 100.00
17.2. Checking account $
17.3. Savings account: FlFTH TH|RD BANK $ 1.00
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other nnancial account: $
17.7. Other financial account: $
' 17.8. Other financial account: $
17.9. Other financial account: $
18. Bonds, mutual funds or publicly traded stocks
Examp/es: Bond funds investment accounts with brokerage firms money market accounts
No
i:] Y€S ............... institution or issuer name:
$
$
$
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses including an
interest in an LLC, partnership, and joint venture
No Name of entity: % of ownership:
m Yes. Give specific
information about _ 0.00 % $
them.
0.00 % $
0.00 % $
Official Form 106A/B Schedule A/B: Property page 5

 

 

 

Debtor 1 FRED

First Name

Case 18-11276-r%gARB)00 1 Filed 07/11/18 Casl;’raug§eri.i§<

Middle Name Last Name

of 47

nown)

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negoti'ab/e instruments include personal checks cashiers’ checks promissory notes and money orders
Non-negotiab/e instruments are those you cannot transfer to someone by signing or delivering them.

No

ij Yes.Give specific
information about
them .....................

 

 

 

21. Retirement or pension accounts

No
i:l Yes. Listeach

 

 

 

 

 

 

 

22. Security deposits and prepayments

companies or others
No

i:i Yes ........................

 

 

 

 

 

 

 

 

issuer name:
$
$
$
Examp/es: interests in iRA, ER|SA, Keogh, 401(k), 403(b), thrift savings accounts or other pension or profit-sharing plans
account separately Type of account: institution name:
401 (k) or similar pian: $
Pension plan: $
lRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
Your share of all unused deposits you have made so that you may continue service or use from a company
Examp/es.‘ Agreements with landlords prepaid rent, public utilities (eiectric, gas water), telecommunications
institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Teiephone: $
Water: $
Rented furniture: :

Other:

 

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

No
i:i Yes ...........................

issuer name and description:

 

 

 

 

Official Form 106A/B

Schedule AlB: Property

page 6

 

 

 

Case 18-11276-r%gARgoc 1 Filed 07/11/18 Casl;’raug§er]af§ngvfn47

Debtor 1 FRED

First Name Middle Name Last Name

 

24. interests in an education iRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
No

ij Yes """""""""""""""""""" institution name and description Separateiy file the records ofany interests11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

-No

i:i Yes. Give specific
information about them.

 

 

 

 

26. Patents, copyrights trademarks trade secrets and other intellectual property
Examp/es: lnternet domain names websites proceeds from royalties and licensing agreements

-No

i:i Yes. Give specific
information about them.

 

 

 

 

27. Licenses, franchises and other general intangibles
Examp/es: Buiiding permits exclusive licenses cooperative association holdings liquor licenses professional licenses

-No

l:l Yes. Give specific
information about them.

 

 

 

 

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you

 

No
i:] Yes. Give specific information about Federal; $
them, including whether you
already filed the returns and the tax State. $
years ........................................... '
Loca|: $

 

 

 

29. Famiiy support
Examp/es: Past due or lump sum aiimony, spousal support, child support, maintenance, divorce settlement, property settlement

-No

i:i Yes. Give specific information ............

 

A|imony:
l\/iaintenance:
Support:

69€969

Divorce settiement: $

 

 

Property settlement: $

 

30. Other amounts someone owes you
Examples. Unpaid wages disability insurance payments disability benefits sick pay, vacation pay, workers’
compensation, Social Security benefits unpaid loans you made to someone else

.No

[i Yes, Give specific information ............

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 7

 

 

Case 18-11276-reg Doc 1 Filed 07/11/18 Page 17 of 47
Debtor 1 FRED HEARD Case number (if known)

First Name Middle Name Last Name

 

31. interests in insurance policies
Examp/es: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

i:iNo

Yes,Name the insurance company
of each policy and list its value ......

Company name: Beneficiary:

ANTHEi\/i HEALTH lNSURANCE
HUMANA`HEALTH iNSURANCE
PRINC|PLE LlFE INSURANCE SPOUSE

32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance poiicy, or are currently entitled to
receive property because someone has died.

-No

 

i:i Yes. Give specific information ..........

 

 

 

33. Ciaims against third parties whether or not you have filed a lawsuit or made a demand for payment
Examp/es.' Accidents employment disputes insurance claims or rights to sue

-No

 

i:i Yes. Describe each claim. ..............

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
rights to set off claims

-No

 

i:i Yes. Describe each claim .............

 

 

 

35. Any financial assets you did not already list

 

No
i:i Yes. Give specific information.

 

 

361 Add the dollar value of all of your entries from Part 4, including any entries for pages you have
attached for Part 4. Write that number here .................................................................................................................................. 9

- Describe Any Business-Re|ated Property You Own or Have an interest in. List any real estate in Part 1.

Surrender or refund
value:

 

 

0.00

0.00

0.00
$
$
$
$

$ 121 .00

 

 

37. Do you own or have any legal or equitable interest in any business-related property?
No. eo to Part e.
E| Yes. co to iine 3a

38. Accounts receivable or commissions you already earned

i:iNo

 

i:i Yes Describe.

 

 

 

39. Office equipment, furnishings and supplies
Examp/es.' Business~related computers software, modems, printers copiers tax machines rugs telephones desks chairs electronic devices

i:iNo

 

i:i Yes. Describe..

 

 

 

 

Current value of the
portion you own?

Do not deduct secured
claims or exemptions

 

Official Form 106A/B Schedule AlB: Property

page 8

 

 

Debwm FRED Case 18-11276-re{gAng)00 1 Filed 07/11/18 Cas§rajg§er%f§ngvfn47

First Name Middle Name Last Name

 

40. iViachinery, fixtures equipment, supplies you use in business and tools of your trade

UNo

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

j Part 6: Describe Any Farm~ and Commercial Fishing-Related Property You Own or Have an interest ln.
if you own or have an interest in farmiand, list it in Part1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.
l:i Yes. co 10 line 47.

47. Farm animals
Examp/es: Livestock, poultry, farm-raised fish

i:iNo

 

 

i:i Yes. Describe.. $
41. inventory
i:i No
Ei Yes Describe.. $
42. interests in partnerships orjoint ventures
i:i No
i:i YeS' Describe """" Name of entity: % of ownership:
0.00% $
0.00% $ 0.00
0.00% $
43. Customer iists, mailing lists or other compilations
i:i No
[i Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
i:i No
i:i Yes. Describe ......... $
44. Any business-related property you did not already list
i:i No
ij Yes. Give $
specific
information $
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ O_OO
for Part 5. Write that number here ..................................................................................................................................................... 9

 

 

i___i Yes ....................

 

 

Current value of the
portion you own?

Do not deduct secured
claims or exemptions

$

 

Official Form 106A/B Schedule AlB: Property

page 9

 

 

Case 18-11276-reg Doc 1 Filed 07/11/18 Page 19 of 47
Debtor 1 FRED HEARD Case number (if known)

First Name Middle Name Lasi Name

 

 

48. Crops-either growing or harvested
[:] No

m Yes. Give specific
information. ............ $

 

 

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

l:\ No
m Yes .....................

 

 

 

 

50. Farm and fishing supplies, chemicals, and feed
i:i No
L__] Yes ....................

 

 

51. Any farm- and commercial fishing-related property you did not already list
m No

l:] Yes. Give speciHc
information. ........ $

 

 

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here ..................................................................................................................................................... 9 $ 0_00

 

 

Describe All Property You Own or Have an interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examp/es: Season tickets, country club membership

No

l:i Yes.Give
specific $
information .......

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here ............................................................... 9 $ O'OO

 

 

 

- List the Totais of Each Part of this Form

55. Part 1: Total real estate, line 2 ................................................................................................................................................................. 9 $ 9 477.00

 

56. Part 2: Total vehicles, line 5 $ 0.00
57. Part 3: Total personal and household items, line 15 $ 3 600.00
58. Part 4: Total financial assets, line 36 $ 121.00
59. Part 5: Total business-related property, line 45 $ 0.00
60. Part 6: Total farm- and fishing~related property, line 52 $ 0.00

61. Part 7: Total other property not listed, line 54 + $ 0_00

 

 

 

 

62. Total personal property. Add lines 56 through 61. ................. $ 3,721.00 Copy personal property total 9 §+ $ 3 721.00

 

 

63. Total of all property on Schedule AlB. Add line 55 + line 62. .................................................................................... $ 13 198.00

 

 

 

 

Official Form 106A/B Schedule AlB: Property page 10

 

 

Case 18-11276-reg Doc 1 Filed 07/11/18 Page 20 of 47

Fill in this information to identify your case:

Debtor1 FRED HEARD

Flrst Name Middle Name Last Name

Debtor 2 LILA L HEARD

(Spouse, if tillng) Flrst Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN Districier lN

Case number l:l Check if this is an amended filing.

(if known)

 

 

 

Official Form 1060
Schedule C: The Property You Claim As Exempt 04/16

Be as complete and accurate as possible lftwo married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. lf more
space is needed, fill out and attach to this page as many copies of Part 2.' AdditionalPage as necessary On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Aiternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions_such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

m identify the Property You Clalm as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing With you,

 

m You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
i:l You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own exemption
Copy the value from Check only one box for each
Schedule A/B exemption
Brief i.C. 34~55~10~2(0)(1l
description: 6722 LAl<EviE\/\/ couRT Fr... $ 125 OOO_OO $ 9 477.00
Line from l:i 100% of fair market value, up to:
Schedule 1_1 any applicable statutory limit
A/B.'
Brief l.C. 34-55-10-2(c)(2)
description: 2015 cHEvRoLET sueuReAN $ 33 000_00 $ 000
Line from ij 100% of fair market value, up to:
Schedule 3,1 any applicable statutory limit
A/B:
Brief i.C. 34-55-10-2(c)(2)
description: 2008 Gl\/|C TRUCK $ 9.000.00 $ _____0_0_0
Line from i:l 100% of fair market value, up to:
Schedule 3_2 any applicable statutory limit
A/B:

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

No
m Yes. Did you acquire the property covered by the exemption Within 1,215 days before you filed this case?

[___i No
l:i Yes

official Form 1060 schedule c: The Property You claim Ae Exempt /3/ / {/) 57 page 1 er g

 

 

 

 

Case 18-11276-reg Doc 1 Filed 07/11/18 Page 21 of 47
HEARD Case number (if known)

Last Name

Debtor 1 FRED

Firsl Name Middle Name

Additional Page

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own exemption

Copy the value from Check only one box for each exemption

Schedule A/B
B` f l.C. 34-55- 0-2 2
d;':mpuon: HousEHoLD coons $ 1,000.00 $ 1 000_00 1 (C)( )
Line from m 100% of fair market value, up to:
Schedule A/B; 6 any applicable statutory limit
Brief l.C. 34~55~10~2(cl(2l
description: ELECTRON'CS $ 1.200.00 121 $ __LM
Line from m 100% of fair market value, up to:
schedule A/B: 7 any applicable statutory limit
Brief l.C. 34-55-10-2 c 2
description: SPORTS EQUlPl\/lENT $ 200.00 IZ] $ 200.00 ( )( )
Line from l:] 100% of fair market value, up to:
Schedule A/B,l 9 any applicable statutory limit
Brief l.C. 34~55~10~2(cll2l
description: F'REARMS $ 400100 31 $ 400.00
Line from m 100% of fair market value, up to:
Schedu/e A/B; __10_ any applicable statutory limit
Brief l.C. 34~55-10-2(cl(2)
description: CLOTHES $ 500-00 [E $ ____M
Line from l:.l 100% of fair market value, up to:
Schedule A/B; ___11__ any applicable statutory limit
Brief l.C. 34~55~10-2(0)(2)
description: JEWELRY $ 250-00 121 $ _____ZM
Line from m 100% of fair market value, up to:
Schedu/e A/B; ___1§_ any applicable statutory limit
Brief l.C. 34-55-10-2(0)(2)
description: NON-FARl\/l ANilVlAL $ 50.00 El $ 5000
Line from m 100% of fair market value, up to:
Schedu/e A/B; __13__ any applicable statutory limit
Brief l.C. 34-55-10-2(0)(3)
description: CASH $ 2000 $ 20.00
Line from m 100% of fair market value, up to:
Schedule A/B_~ __1_6.__ any applicable statutory limit
Brief l.C. 34-55-10-2(0)(3)
description: BANKACCOUNTS $ 101.00 121 $ 101.00
Line from m 100% of fair market value, up to:
Schedule A/B_- _17__ any applicable statutory limit
B ' f l.C. 34~55~10~2 7
d;':o,iption: leuRANcE PoLlclEs $ 0.00 s ____OM (C)( d
Line from |:] 100% of fair market value, up to:
Schedu/e A/B,~ 31 any applicable statutory limit
B i f l.C. 27~1~12~14
description: 'NSURANCE pOL'CY $ 0-00 E] $ ______O_.QQ
Line from [:] 100% of fair market value, up to:
Schedule A/B; _L any applicable statutory limit
Brief
description: $ L_-I $
Line from l:i 100% of fair market value, up to=
Schedule A/B: __ any applicable statutory limit

Official Form 1060 Schedule C: The Property You Claim as Exempt page __2__ of L

 

 

 

Fill in this information to identify your case:

FRED

Firsl Name

LILA L

First Name

Debtor 1

Debtor 2
(Spouse, ll flllng)

united states Bankruptcy court for the: NORTHERN

Case number

Case 18-11276-re»

Middle Name

Middle Name

 

HEARD

Last Name

HEARD

Last Name

District er IN

 

(|f known)

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7 l:l Check if this is an amended filing.

 

Official Form 106D

Schedule D:

Be as complete and

Creditors Who Have Ciaims Secured by Property

accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct

12/15

information. if more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
l:l No. Check this box and submit this form to the court with your other schedulesl You have nothing else to report on this form.

Yes. Fill in ali of the information below.

List Aii secured claims

 

separately for each claim.

2. List all secured claims. if a creditor has more than one secured claim, list the creditor
if more than one creditor has a particular claim, list the other
creditors in Part 2. As much as possible, list the claims in alphabetical order according to the

 

 

 

 

 

 

 

Column B Column C

Value of collateral Unsecured
thatsupports this portion

Column A
Amount of claim
Do not deduct the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Creditor,$ name. value of collateral. Claim if any
HOR|ZON BANK/LADERER & F|SCHER Describe the property that secures the clalm. $ 35,000.00 $ $
Creditol“s Name
5 EV SUBURBAN
401 _ E. COLFAX AVE. 201 CH Y
Number Street As of the date you file, the claim is: Check all
that apply.
STE' 305 i:i Contingent
souTH BEND lN 46617 U""quida‘ed
City State ZlP Code m Dispufed
Wh° °Wes the debt? Check One~ Nature of lien. Check all that apply.
m Debt°r 1 Only An agreement you made (such as mortgage or
Debtor 2 Only secured car loan)
m Debtor 1 and Debtor 2 Only L_..l Statutory lien (such as tax iien, mechanic’s lien)
i:i At least one of the debtors and another l:] Judgment lien from a lawsuit
Ei cheek if this claim relates tc a m Other (i“°'“di“g a right to °"Set) l
community debt
Date debt was incurred APerir.m2`015 Last 4 digits of account number
OCWEN LOAN SERV' Describe the property that secures the ciaim. $ 108,000.00 $ $
Creditofs Name
6722 LAKEV|EW CT., FORT WAYNE, iN
BK. DEPT. P.O. BOX 24605
Number street As of the date you file, the claim is: Check all
that apply. f
L__i Contingent
W. PALi\/l BcH. FL 33416 Un'lquldated
city State zlP cede [:] Disputed
Wh° °Wes the debt? Check °"e' Nature of lien. Check ali that app|y.
m Debtor1 only An agreement you made (such as mortgage
|:] Debtol' 2 Only or secured car loan)
m Debtor 1 and Debtor 2 Only m Statutory lien (such as tax lien, mechanic’s lien)
m At least one of the debtors and another m Judgment lien from a lawsuit
El check if this claim relates tc a m Other including a light i° °“Se‘>
community debt
Date debt was incurred Last 4 digits of account number
Add the dollar value of your entries in Column A on this page. Write that number here: $ 143 000.00
Official Form 106D Schedule D: Creditors Who Have Ciaims Secured by Property page 1 of _2_

 

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Debtor 1 FRED HEARD Case number (if known)
Firsl Name Middle Name Last Name
. _ Column A Column B Column C
Addltlonal Page Amount of claim Value of Unsecured
After listing any entries on this page, number them beginning with 2.3, 00 hot deduct the collateral th_at portion
followed by 2.4, and so forth. value ofcoliateral. SlllpPOrfS fhls lrany
c aim
pRENllER AUTO Describe the property that secures the clalm: $ 10‘000,00 $ $
Creditofs Name
1304 918 S. ANTHONY 2008 GMC TRUCK
Number Street As of the date you file, the claim is: Check all
that apply.
m Contingent
FORT WAYNE lN 46803 Unliquidafed
city state zlP code |:| Dlsputed
Wh° °Wes the debt? Check °“e' Nature of lien. check all that apply
- Debtor 1 Only i:] An agreement you made (such as mortgage or
|:1 Debtol' 2 Only secured car loan)
m Debtor 1 and Debt°r 2 Only m Statutory lien (such as tax lien, mechanic’s lien)
[:i At least one of the debtors and another |:] Judgment lien from a lawsull
m Check if this claim relates to a Other (inciuding a right to offset) SON‘S VEHiCLE (..,
community debt
Date debt was incurred Last 4 digits of account number
2.4 - - .
U.S' DEPT. OF HUD Describe the property that secures the cialm. $ 7.523.00 $ $
Creditor’s Name
451 7TH ST. SW 6722 LAKEVIEW CT., FORT WAYNE, lN
Number Street As of the date you file, the claim is: Check all
that apply.
L__i Contingent
wAsi-liNeToN Dc 20410 Unllquidat€d
City State ZlP Code m Dlsputed
Wh° °‘”e$ 1119 debt? Check °"e‘ Nature of lien. check all that apply.
m Debtor 1 Only An agreement you made (such as mortgage or
m Debto" 2 Omy secured car loan)
1:1 Debtor 1 and Debtor 2 Only m Statutory lien (such as tax lien, mechanic's lien)
l:| At least one of the debtors and another l'_'] Judgment lien from a lawsuit
i:] check if this claim relates to a 1:1 Other (1"€1“‘11"9 a '191“ 1° 0113€1)
community debt
Date debt was incurred Last 4 digits of account number
_1 Describe the property that secures the claim: $ $ $
Creditors Name
Number Street As of the date you file, the claim is: check all
that apply.
l:i Contingent
l i:i Unliquidated
City State ZlP Code m Disputed
Who owes the debt? Check one. _
Nature of ilen. Check all that appiy.
i:l Debtor1 only m A ` t d ( h rt
n agreemen you ma e sue as mo gage or
§ Debtor 2 Only secured car loan)
Debtor 1 and Debtor 2 Only m Statutory lien (such as tax lien, mechanics lien)
L__i At least one of the debtors and another . .
ij Judgment lien from a lawsuit
[:l cheek it this claim relates to a m Other (inciuding a right to Offs@t)
community debt
Date debt was incurred Last 4 digits of account number
Add the dollar value of your entries in Column A on this page. Write that number here: $ 17 523.00
if this is the last page of your form, add the dollar value totals from all pages. $ 160 523 00
Write that number here: '
Official Form 106D Additional Page of Schedule D: Creditors Who Have Ciaims Secured by Property page L of L

 

 

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Fill in this information to identify your case:

Debtor1 FRED HEARD

First Name Middle Name Last Name

Debtor 2 LiLA l_ HEARD

(Spouse, ll lillng) Firsl Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN Districtor iN

 

Case number
(if known)

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Ciaims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PR|ORiTY claims and Part 2 for creditors with NONPRlOR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. if more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the ieft. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

[:l Check if this is an amended filing.

List All of Your PR|ORiTY Unsecured Ciaims

1. Do any creditors have priority unsecured claims against you?
ij No. Go to Part 2.
Yes.

2.List all of your priority unsecured claims. lf a creditor has more than one priority unsecured ciaim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. if a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. if you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. if more than one creditor holds a particular ciaim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total claim Priority Nonpriority
amount amount
2.1
IR.S. . Last 4 digits of account number $ 82»00 $ 82-00 $ 0.00
Priority Creditol“s Name
230 S_ DEARBORN ST, When was the debt incurred?
Number Street
Rl\/l. 2560. 5015 CH| As of the date you file, the claim is: Check all that apply.
cchAeo lL 60604 1:1 C°Ft"‘,gem
city state zlP code m Unllquldated
Who incurred the debt? Check one. m D'Sputed
§ §e::°;; on:y Type of PR|ORiTY unsecured ciaim:
e o on y _ l _
l:l Debtor1 and Debtor 2 only l:l Domestlc support obligations
m At least one of the debtors and another Taxes and Certam Other deth you OWe the
_ government
m Check ifthls claim is fora community debt |:l ClalmS for dealh or personall lnlury Whlle you
ls the claim subject to offset? were intoxicated
No m Other. Specify
[:l Yes
2.2
. . , Last 4 digits of account number $ $ $ 0.00
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
m Contingent
city state zlP code l:l Unliquidated
Who incurred the debt? Check one. 1:1 D1Sputed
l:i Debtor 1 only .
l:l Deblor 2 only Type of PR|ORiTY unsecured clalm:
[:] Debtor 1 and Debtor 2 only m DOm€StiC SUPPOlt Ob"QainnS
m At least one ofthe debtors and another l:] Taxes and certain other debts you owe the
. . . government
aims or ea or persona injury w le you
m Check lf this claim is for a community debt m Cl . f d th l. . h.l
is the claim subject to offset? Were intoxicated
i:] No m Other. Specify

i:] Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Ciaims page 1 of 16

 

 

 

 

Case 18-11276-reg Doc 1
H ARD

Middle Name

Debtor 1 FRED

Firsl Name Last Name

List All ot Your NoNPRloRiTY unsecured claims

3. Do any creditors have nonpriority unsecured claims against you?

Yes

claims fill out the Continuation Page of Part 2.

4,1 l
1ST SOURCE BANK/J, JOHNSON

Nonpriority Creditor’s Name

EDlSON LK. PKWY., STE. 100

 

 

41 00

Number Street

lVllSHAWAKA |N 46545
City State ZlP Code

Who incurred the debt? Check one.

m Debtor1 only

|:l Debtor 2 only

m Debtor 1 and Debtor 2 only

l:i At least one of the debtors and another

m Check if this claim is for a community debt
is the claim subject to offset?

No

[:l Yes

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ase nu ber (if known)

l:i No. You have nothing to report in this part. Submit this form to the court with your other schedules

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

i:l Contingent
unliquidated

m Disputed
Type of NONPR|ORlTY unsecured claim:
l:l Student loans

l:| Obligations arising out of a separation agreement
or divorce that you did not report as priority claims

ij Debts to pension or proht-sharlng plans, and other
similar debts

Other. Specify

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim, if a creditor has more than one
priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than four priority unsecured

Total claim

$ 41 419.00

 

4.2 l
ALLEN CO. CARDlOLOGY

Nonpriority Creditor’s Name

 

 

604 W. BERRY ST.

Number Street

FORT WAYNE lN 46802
City State ZlP Code

Who incurred the debt? Check orle.

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

i:] Contingent
Unliquidated

$ 92.00

 

 

 

Nonpriority Creditor’s Name

P.O. BOX 130424

 

 

Number Street
ROSEV|LLE iVlN 55113
City State ZlP Code

Who incurred the debt? Check one.

i:l Debtor1 only

l:] Debtor 2 only

l:l Debtor 1 and Debtor 2 only

l:l At least one of the debtors and another

ij Check if this claim is for a community debt
is the claim subject to offset?

No

l:l Yes

 

Official Form 106E/F

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

i:l Contingent

unliquidated

l:l Disputed

Type of NONPR|ORlTY unsecured claim:

[:] Student loans

[:] Obligations arising out of a separation agreement
or divorce that you did not report as priority claims

[:l Debts to pension or profit-sharing plans, and other
similar debts

Other. specify Repo;lc~it_oltla/\c

Schedule E/F: Creditors Who Have Unsecured Ciaims

l:l Debtor1 only [_°_} Disputed
l:l Debtor 2 only _
Debtor 1 and Debtor 2 only Type of NONPR|ORlTY unsecured clalm:
m At least one of the debtors and another 1:1 Student loans
l:l Check if this claim is for a community debt l:l Obligations arising out of a separation agreement
or divorce that you did not report as priority claims
|S the C|aim Subi'@¢"t f° Off$et? i:] Debts to pension or profit-sharing plans, and other
No similar debts
l:l Yes Other. specify lvl_t§l;_ici_tt_
MALLY FlN_ Last 4 digits of account number $ M

 

 

Debtor 1 ase nu

Case 18-11276-reg Doc 1 Filed 07/11/18 Page 26 of 47
FRED H ARD C ber(lfknown)
FirstName

Middle Name Last Name

m Your NONPRlORiTY Unsecured Ciaims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
4.4
§ME.R.|CAN .AGENCES Last 4 digits of account number
onpnorlty Creditor*s Name $ 100.00
2491 PAXTON ST. .
Number Street When was the debt incurred?
HARR|SBURG PA 17111 As of the date you file, the claim is: Check all that
City State ZlP Code app|y_
Who incurred the debt? check one. m Contingent
[] Debtor 1 Only Unliquidated
§ Debtor 2 only l:l Disputed
Debtor1 and Debtor 2 only . l
m At least one of the debtors and another Type of NONPR]OR|TY unsecured C|alm'
_ _ _ _ _ i:i Student loans
L__i Check lf this claim is for a community debt _ , _ _ _
l:l Obligations arising out of a separation agreement or
is the claim subject to offset? divorce that you did not report as priority claims
r No m Debts to pension or profit-sharing plansl and other
m Yes similar debts
Other. Specify
4.5
AME,R.|COU.‘ECT‘ 1NC' Last 4 digits of account number
Nonpriority Creditor’s Name $ 75‘00
P.O. BOX 1505 .
Number Street When was the debt incurred?
N|AN|TOWOC W| 54221 As of the date you file, the claim is: Check all that
City State ZlP Code app|y_
Who incurred the debt? check one. m Contingent
l:i Debtor 1 only Un|iquidat€d
§ Debtor 2 only l:l Disputed
Debtor 1 and Debtor 2 only . §
|:l At least one of the debtors and another Type Of NONPR|OR1TY unsecured cla'm'
_ _ _ _ _ i:] Student loans
i:l Check lf this claim ls for a community debt . . . . .
[:l Obligations arising out of a separation agreement or
is the claim subject to offset? divorce that you did not report as priority claims
No [:l Debts to pension or profit-sharing plans, and other
m Yes similar debts
Other. Specify
4.6
AME.R.|COL|TECT' lNC' Last 4 digits of account number
Nonpriority Creditofs Name $ 40'00
P.O. BOX 1690 .
Number Streel When was the debt incurred?
'(\;’l’t/;N'TOWOC glng §§,ZC-’;);e As of the date you file, the claim is: check all that
apply.
Who incurred the debt? Check one. [:] Contingent
l:l Debtor 1 only Unliquidated
i:] Debtor 2 only ['_'_] Disputed
l:l Debtor 1 and Debtor 2 only _
[l At least one of the debtors and another Type Of NONPR|ORlTY unsecured clalm=
l:l check it this claim is for a community debt 1:1 Student '°a"S
l:] Obligations arising out of a separation agreement or
|S the Claim Sllbi'ect to Of'fset? divorce that you did not report as priority claims
NO i:] Debts to pension or profit-sharing plans, and other
|:l Yes . .
similar debts
Other. Specify
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Ciaims page of 1

 

 

Debtor 1 FRED

Firsl Name Middle Name Last Name

Your NoNPRloRiTY unsecured claims - continuation Page

Case 18-11276-rEgARg)oc 1 Flled 07/11/18 Casi;’relt]gteer§fz

of 47

nown)

 

 

 

 

 

 

 

 

 

 

 

 

 

203 E. BERRY ST., STE. 1100

Number Street

FORT WAYNE iN 46802
City State ZlP Code

Who incurred the debt? Check one.

i:i Debtor 1 only

i:] Debtor 2 only

m Debtor 1 and Debtor 2 only

[:l At least one of the debtors and another

l:l

is the claim subject to offset?
No
Yes

Check if this claim is for a community debt

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

i:i Contingent
Uniiquidated

l:l Disputed
Type of NONPR|ORlTY unsecured claim:
l:l Student loans

l:|

Obligations arising out of a separation agreement or
divorce that you did not report as priority claims
Debts to pension or profit-sharing plansl and other
similar debts

Other. specify ll/lEchAL coLLEchoN

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
4.7
APR.IA. HEA[.“THCARE Last 4 digits of account number
Nonpriority Creditor’s Name $ 60'00
P.O. BOX 802017 .
Number Street When was the debt incurred?
CH|CAGO |L 60680 As of the date you file, the claim is: Check ali that
City State ZlP Code app|y_
who incurred the debt? check one. m Contingent
g Deblor l Only unliquidated
§ Debtor 2 only i:] Disputed
Debtor 1 and Debtor 2 only . _
i:] At least one of the debtors and another Type of NONPR|ORlTY unsecured c|a'm‘
_ _ _ _ _ l:l Student loans
l:l Check lf this claim ls for a community debt . . . , .
l:l Obligations arising out of a separation agreement or
is the claim subject to offset? divorce that you did not report as priority claims
No l:] Debts to pension or prout-sharlng plansl and other
m Y€S similar debts
Other, Specify
4a
ASS.OC' AN.ES'/SNOW & SAUERTE1G Last 4 digits of account number
Nonpriority Creditofs Name $ 440_00

 

19 CAP|TAL ONE/Al\/|ER, |NFOSOURCE

 

 

Nonpriority Creditofs Name

P.O. BOX 71083

 

Number Street
CHARLOTTE NC 28272
City State ZlP Code

Who incurred the debt? Check one.

[:l Debtor 1 only

m Debtor 2 only

l:l Debtor 1 and Debtor 2 only

l:] At least one of the debtors and another

ij

is the claim subject to offset?
No
i:] Yes

Check if this claim is for a community debt

 

Last 4 digits of account number

When was the debt incurred?
As of the date you file, the claim is: Check all that
apply.

l:l Contingent
unliquidated

i:l Disputed
Type of NONPR|ORlTY unsecured claim:
[:i Student loans

l:l

Obligations arising out of a separation agreement or
divorce that you did not report as priority claims
Debts to pension or prout-sharing plans, and other
similar debts

Other. Specify CC ACCTSr -1725 -2553

l:l

$ 2 200.00

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Ciaims

 

 

Debtor 1 FRE[)

First Name Middle Name Last Name

Your NoNPRloRlTY unsecured claims - continuation Page

ber (if known)

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H ARD Casen

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.
Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

l:l[:ll:l[l

l:l

ls the claim subject to offset?
No
l:l Yes

Check if this claim is for a community debt

 

app|y.

m Contingent
unliquidated

l:] Disputed
Type of NONPR|ORlTY unsecured claim:
l:] Student loans

Obligations arising out of a separation agreement or
divorce that you did not report as priority claims
Debts to pension or profit-sharing plans, and other
similar debts

Other. Specify suRRENDEREo: 4427 lvlclvliLLAN PK. DR...

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
4.10
ClTY OF FORT WAYNE - -
Nonpriority Creditors Name Last 4 digits of account number $ 100.00
§g£ber §t‘re|:tERRY ST" STE' 130 When was the debt incurred?
FORT WAYNE lN 46802 As of the date you file, the claim is: Check all that
City State ZIP Code apply
who incurred the debt? check one. m Contingent
jj Debtor 1 Onry unliquidated
§ Debtor 2 only l:] Disputed
Debtor1 and Debtor2 only . _
l:l At least one of the debtors and another Type of NONPR|OR`TY unsecured c|a'm'
_ _ _ _ _ |:l Student loans
|:\ Check if this claim ls for a community debt . . . . .
m Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No l:] Debts to pension or profit~sharing plans, and other
m Yes similar debts
Other. Specify ACCTS. FOR 4427 MCl\/l|l_LEN PK. DR.
4.11
CRED|T ONE/LVNV/FNBl\/l, LLC . .
Nonpriority Creditors Name Last 4 digits of account numberg g § § $ 557.00
Number §t'r;)e't BOX 10587 When was the debt incurred?
GREENVILLE SC 29603 As of the date you file, the claim is: Check all that
city state zlP code app,y_
Who incurred the debt? Check one. m Contingent
l:l Debtor1 only unliquidated
§ Debtor 2 only l:] Disputed
Debtor1 and Debtor2 only _ _
l:] At least one of the debtors and another Type of NONPR|ORlTY unsecured c|alm'
_ , _ _ _ m Student loans
m Check if this claim rs for a community debt . , , , ,
l:l Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No l:l Debts to pension or proflt~sharing plans, and other
[:] Yes similar debts
Other. specify cc
4,12
EEU.T.SCHE` BK‘/OCWEN LOAN SERV Last 4 digits of account number
onpriorlty Creditors Name $ O_OO
ELE`ESFPT' |;t'r;)e't BOX 24605 When was the debt incurred?
§§ PA'-'V' BCH- §;te §|§,4€10§& As or the date you file, the claim is: check all that

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Ciaims

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Debtor 1

Your NoNPRloRlTY unsecured claims ~ continuation Page

 

 

 

FRED

Firsl Name Middle Name Last Name

 

 

 

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nown)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
4.13
ER‘ .HECTO.R PEREZ Last 4 digits of account number
onpriority Creditors Name $ 70'00
SZ[:`Z€F §t`r;:`t'\|THONY’ STE’ 500 When was the debt incurred?
FORT WAYNE |N 46806 As of the date you file, the claim is: Check all that
City State ZlP Code app|y_
who incurred the debt? check one. m Contingent
|:l Debtor 1 only Un|lquidaf@d
§ Debtor 2 only l:l Disputed
Debtor1 and Debtor 2 only . _
l:] At least one of the debtors and another Type of NONPR|ORlTY unsecured cla'm'
_ _ _ _ _ [:l Student loans
[:l Check if this claim ls for a community debt . . . . .
l:l Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No m Debts to pension or profit-sharing plans, and other
l:l Yes similar debts
Other. specify l\/ll;p at
444
EUP.O.NT HQSpITAL/LUTHERAN HEALTH Last 4 digits of account number
onpriority Creditol“s Name $ 321 _00
:|L?:§ezr gt:;‘t[‘EC-r CTR' When was the debt incurred?
CHICAGO lL 60693 As of the date you file, the claim is: Check all that
City State ZlP Code appjy_
who incurred the debt? check one. m Contingent
l:l Debtor 1 only Unliquidafed
§ Debtor 2 only m Disputed
Debtor 1 and Debtor 2 only _ _
|:l At least one of the debtors and another Type of NONPR'OR|TY unsecured c|a'm'
_ _ _ _ _ l:l Student loans
m Check if this claim is for a community debt . . . . .
m Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No |:l Debts to pension or profit-sharing plans, and other
Y€S similar debts
Other. SpeciW
4.15
§|NC.;E.RHUT/SAD|NO FUND|NG Last 4 digits of account number
onpriority Creditor‘s Name $ 532_00
Number §t'r;:'t BOX 788 When was the debt incurred?
§$KLAND §§ §§,Qf:§e As of the date you file, the claim is: check all that
app|y.
Who incurred the debt? Check one. |:l Contingent
El Debtor1 only unliquidated
|:l Debtor 2 only [:| Disputed
l:l Debtor1 and Debtor 2 only _
m At least one of the debtors and another Type Of NONPR|ORlTY Unsecured C|aimf
l:l check it this claim is for a community debt E Student '°a"$
[:l Obligations arising out of a separation agreement or
IS the Claim Subject to Offset? divorce that you did not report as priority claims
NO |:l Debts to pension or proHt-sharing plans, and other
Yes similar debts
Other. specify AccTs. -2777, ~9476
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Ciaims page of 1 `

 

 

Case 18-11276-re
ll ARD

Last Name

Debtor 1 FRE[)

First Name Middle Name

m Your NoNPRloRlTY unsecured claims ~ continuation Page

 

 

 

 

 

 

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Case nu ber (ifknown)

 

 

 

 

 

 

 

 

 

 

 

 

6435 W. JEFFERSON

Number Street

FORT WAYNE lN 46825
City State ZlP Code

Who incurred the debt? Check one.
Debtor1 only

Debtor 2 only`

Debtor 1 and Debtor 2 only

At least one of the debtors and another

l:l|:ll:|l:l

l:l

ls the claim subject to offset?
No
[:] Yes

Check if this claim is for a community debt

 

When was the debt incurred?
As of the date you file, the claim is: Check all that
app|y.

\:l Contingent
unliquidated

l:l Disputed
Type of NONPR|ORlTY unsecured claim:
l:l Student loans

Obligations arising out of a separation agreement or
divorce that you did not report as priority claims
Debts to pension or profit~sharing plans, and other
similar debts

Other. Specify MED|CAL

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
4.16
§ORT.WAYNE ORTHO Last 4 digits of account number
onpriority Creditofs Name $ 50_00
;§n?ger g\t/r'egtEFFERSON When was the debt incurred?
FORT WAYNE lN 46804 As of the date you file, the claim is: Check all that
City State ZlP Code appjy'
who incurred the debt? check one. m COnfingenf
jj Debtor 1 Only unliquidated
§ Debtor 2 only L__] Disputed
Debtor1 and Debtor 2 only . _
[:] At least one of the debtors and another Type Of NONPR!OR|TY unsecured c|a'm'
_ _ _ _ _ m Student loans
l:] Check lf this claim is for a community debt . . . , .
l:l Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No m Debts to pension or profit»sharing plans, and other
l:l Yes similar debts
Other. specify
4.17
:W RA.D(|;O[&OGL Last 4 digits of account number
onpriority re itofs ams $ 175_00
P.O. BOX 371863 .
Number Street When was the debt incurred?
PlTTSBURGH PA 15250 As of the date you file, the claim is: Check all that
City State ZlP Code app|y'
who incurred the debt? check one. |:] Contingent
|:] Debtor 1 Onjy Unliquidated
§ Debtor 2 only |:l Disputed
Debtor 1 and Debtor 2 only . _
m At least one of the debtors and another Type of NONPR|ORlTY unsecured c|a'm'
_ _ _ _ _ l:l Student loans
m Check if this claim is for a community debt , . _ , ,
l:l Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No l:| Debts to pension or profit~sharing plansl and other
l:l Yes similar debts
Other. specify lvlquiPti§ AccTs.
4.18
HOS.P!TAL C.:ARE GRP' Last 4 digits of account number
Nonpriority Creditor's Name $ 40'00

 

Official Form 106E/F

Schedule Ele Creditors Who Have Unsecured Ciaims

 

 

Case 18-11276-re
FRED ii AR

First Name Middle Name

Debtor 1

Docl Filed 07/11/18 Page 310f47

Case nu ber (ifknown)

Last NamE

Your NoNPRloRlTY unsecured claims - continuation Page

 

4.19

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.

 

 

 

 

 

Total claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SPM.ORGAN. CHASE/BK DEPT' Last 4 digits of account number
onpriority Creditors Name $ 18 218'00
Number :t'r:;'t BOX 29505 AZH'1 191 When was the debt incurred?
PHOENlX AZ 85038 As of the date you file, the claim is: Check all that
City State ZlP Code app|y_
who incurred the debt? check one. m Contingent
t;l oeurori only Unliquidated
§ Debtor 2 only |Il Disputed
Debtor1 and Debtor 2 only . _
l:l At least one of the debtors and another Type Of NONPR|ORlTY unsecured C|a'm'
_ _ _ _ _ l:] Student loans
|:l Check if this claim ls for a community debt , , . . ,
l:l Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No l:] Debts to pension or proHt-sharing plans, and other
l:l Yes similar debts
Other. Specify SURRENDERED 2014 CHRYSLER 300
420
LOA.NME’ |NC‘/WEINSTE|N & R|LEY Last 4 digits of account number
Nonpriority Creditor's Name $ 4 995'00
Zgrgger \S/¥E:TERN AVE" STE' 400 When was the debt incurred? 1
SEATTLE WA 98121 As of the date you file, the claim is: Check all that
City State ZlP Code appjy`
who incurred the debt? check one. m Contingent
ij oentori only unliquidated
§ Debtor 2 only l:.l Disputed
Debtor1 and Debtor 2 only . _
l:l At least one of the debtors and another Type of NONPR|ORlTY unsecured c`a'm'
_ _ _ _ _ l:l Student loans
L__l Check lf this claim ls for a community debt . . . . .
l:l Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No |:l Debts to pension or proHt-sharing plans, and other
l:] Yes similar debts `
Other. Specify
4.21
LUTHERAN.HEALTH Last 4 digits of account number
Nonpriority Crediloi"s Name $ 821'00
;§g|:;’ SSSLECT‘ CTR` When was the debt incurred?
CH|CAGO lL 60693 - - - .
City State ZlP Code As of the date you file, the claim is. Check all that
app|y.
Who incurred the debt? Check one. |:l Contingent
|:l Debtor 1 only Unliquidated
l:l Debtor 2 only j:j Disputed
m Debtor 1 and Debtor 2 only _
l:l At least one of the debtors and another Type of NONPR|ORlTY unsecured claim:
[`_'l check if this claim is for a community debt m Student '°a“S
[:l Obligations arising out of a separation agreement or
15 the C|aim Sub.lect to Off$et? divorce that you did not report as priority claims
NO m Debts to pension or profit-sharing plans, and other
Yes similar debts
Other. Specify
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Ciaims page 8 of 6

 

 

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Debtor1 HEARD

Last Name

FRED

Firsl Name Middle Name

Your NONPR|ORlTY Unsecured Ciaims - Continuatlon Page

 

 

 

 

 

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.
Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

l:ll:ll]l:l

l:l

ls the claim subject to offset?
No
[:] Yes

Check if this claim is for a community debt

app|y.

l:l Contingent
unliquidated

m Disputed
Type of NONPR|ORlTY unsecured claim:
l:] Student loans

Obligations arising out of a separation agreement or
divorce that you did not report as priority claims
Debts to pension or profit-sharing plans, and other
similar debts

Other. specify DlAivloND HoT Rle

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
4.22
MAR.QUEZ AUTO/ADAM HAND Last 4 digits of account number
onpriority Creditofs Name $ O.OO
§L?rlber \;\t/ré;/t\/AYNE ST' When was the debt incurred?
FORT WAYNE |N 46802 As of the date you file, the claim is: Check all that
City State ZlP Code app|y'
who incurred the debt? check one. m Contingent
l:l oentori only unliquidated
§ Debtor 2 only [:l Disputed
Debtor1 and Debtor 2 only _ t
m At least one of the debtors and another Type of NONPR|ORlTY unsecured claim
_ _ _ _ _ ij Student loans
l:l Check if this claim ls for a community debt _ , , , _
l:l Obligations arising out of a separation agreement or
ls the claim subject to offset? , divorce that you did not report as priority claims
No \:l Debts to pension or profit-sharing plans, and other
El Yes similar debts
Other. specify ToTALED 2007 lesAN TiTAN
423 ivllRA lleD REV GRP . .
N , . '. ‘ ' Last4dlgits of accountnumber
onpriority Creditors Name $ 350_00
DEPT. 77304 P.O. BOX 77000 .
Number Street When was the debt incurred?
DETRO|T l\/ll 48277 As of the date you file, the claim is: Check all that
City State ZlP Code appjy_
who incurred the debt? check one. m Contingent
|Il Debtor 1 only Unliquidated
§ Debtor 2 only m Disputed
Debtor 1 and Debtor 2 only . ,
m At least one of the debtors and another Type of NONPR|ORlTY unsecured c|a'm'
_ _ _ _ _ m Student loans
m Check lf this claim ls for a community debt . . , , .
l:l Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No m Debts to pension or profit-sharing plans, and other
l:l Yes similar debts
Other. Specify
4.24
NMONT.'! F|Na.SERV'/MERCH' CRED' SOL' Last 4 digits of account number
onpriori yCre ito s Name $ 1 175_00
Number l;'r(e)e't BOX 3664 When was the debt incurred?
TUST|N CA 92781 - - - .
City State zip Code As of the date you file, the claim ls, Check all that

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Ciaims

 

 

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HEARD Case number (if known)

Last Name

Debtor 1 FRED

First Name Middle Name

m Your NONPRlORlTY Unsecured Ciaims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
4.25
NE O.T.HALMOLOGY Last 4 digits of account number
Nonpriority Creditor's Name $ 3000
3301 LAKE AVE. .
Number Street When was the debt incurred?
FORT WAYNE |N 46805 As of the date you file, the claim is: Check all that
City State ZlP Code app|y_
who incurred the debt? check one. |:\ Contingent
1:| Debtor 1 Only Unliquidated
§ Debtor 2 only l:l Disputed
Debtor 1 and Debtor 2 only _ _
[:] At least one of the debtors and another Type Of NONPR'OR|TY unsecured e'a'm'
_ _ _ _ _ m Student loans
|:l Check if this claim is for a community debt _ _ , , j
l:] Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No l:\ Debts to pension or profit-sharing plans, and other
m Yes similar debts
Other. specify ivll§rr`_ttlc,/A_ty
426
ORT.H.O NE, Last 4 digits of account number
Nonpriority Creditor‘s Name $ 2500
P.O. BOX11782 .
Number Street When was the debt incurred?
FORT WAYNE lN 46860 As of the date you file, the claim is: Check all that
City State ZlP Code app|y'
who incurred the debt? check one. m Contingent
l:l oeotor t only unliquidated
§ Debtor 2 only m Disputed
Debtor 1 and Debtor2 only _ _
l:] At least one of the debtors and another t Type ef NONPR|ORlTY unsecured ela'm'
_ _ _ _ _ l:\ Student loans
l:l Check if this claim is for a community debt _ , _ . _
l:l Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No l:l Debts to pension or profit-sharing plans, and other
m Yes similar debts
Other. specify lvii§yolcat
4.27
ORT.H,O NE/.SNOW e‘ SAUERTE|G Last 4 digits of account number
Nonpriority Creditor’s Name $ 250'00
§€£ber §t'r:;tERRY ST" STE' 1100 When was the debt incurred?
FORT WAYNE lN 46802 - - - .
any mate zlp Code As of the date you file, the claim rs. Check all that
apply.
Who incurred the debt? Check one.‘ l:l Contingent
m Debtor 1 only Unliquidated
l:l Debtor 2 only jj Disputed
[:] Debtor 1 and Debtor 2 only _
‘ El At least one of the debtors and another Type Of NONPRIOR|TY unsecured claim:
l:l check if this claim is for a community debt n Student '°a"$ _
m Obligations arising out of a separation agreement or
lS the C|aim Subl'ect to OffSef? divorce that you did not report as priority claims
NO l:\ Debts to pension or profit-sharing plans, and other
m Yes . .
similar debts
Other. Specify MEDlCAL COLLECT|ON
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Ciaims page 10 of 16

 

 

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Debtor i HEARD

Last Name

FRED

First Name Middle Name

Your NoNPRloRlTY unsecured claims ~ continuation Page

 

 

 

 

 

 

Case number (if known)

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.

Total claim

 

 

 

 

Nonpriority Creditors Name

 

 

P.O. BOX 1567
Number Street
PAR|S TN 38242
City State ZlP Code

Who incurred the debt? Check one.
Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

El:ll`_`|[]

l'_']

ls the claim subject to offset?
No
l:l Yes

Check if this claim is for a community debt

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

m Contingent
unliquidated

El Disputed
Type of NONPR|ORlTY unsecured claim:
L__l Student loans

l:l

Obligations arising out of a separation agreement or
divorce that you did not report as priority claims
Debts to pension or profit-sharing plans, and other
similar debts

Other. Specin/

[:l

428
EARK\.{/IEV\;.FE/;LTH Last 4 digits of account number
onpriorly fe lo s ame $ 9 700'00
Number §f’reoe't BOX 10416 When was the debt incurred?
DES l\/lOlNES lA 50306 As of the date you file, the claim is: Check all that
City State Z|P Code app|y_
who incurred the debt? check one. m Contingent
[;] Debior 1 only unliquidated
§ Debtor 2 only l:] Disputed
Debtor1 and Debtor2 only _ _
m At least one of the debtors and another Type Of NONPR‘OR!TY unsecured ele'm'
_ _ _ _ _ |:l Student loans
l:l Check lf this claim is for a community debt . . . . .
|:l Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No L__l Debts to pension or proHt-sharing plans, and other
m Yes similar debts
Other. specify lvi§oicAt
429
pARKV‘EW PHYS' GRP'/MSCB Last 4 digits of account number

558.00

 

430 PARKlew/AMER. lNi=osouRcE

Nonpriority Creditors Name
P.O. BOX 248838

 

 

 

Number Street
OKLAHOl\/IA ClTY OK 73124
City State ZlP Code

 

Who incurred the debt? Check one.
Debtor1 only

Debtor 2 only

Debtor1 and Debtor 2 only

At least one of the debtors and another

Ell:ll:ll:|

[l

ls the claim subject to offset?
No
l:i Yes

Check if this claim is for a community debt

 

Last 4 digits of account number

When was the debt incurred?
As of the date you file, the claim is: Check all that
apply.

[:] Contingent
unliquidated

l:] Disputed
Type of NONPR|ORlTY unsecured claim:
m Student loans

EJ

Obligations arising out of a separation agreement or
divorce that you did not report as priority claims
Debts to pension or profit-sharing plans, and other
similar debts

Other. Specify MEDlCAL COLLECT|ON

[]

$ 2,075.00

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Ciaims

page 1

 

 

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Debtcr 1 HEARD

Last Name

FRED

Firsl Name Middle Name

m your NoNPRloRlTY unsecured claims - continuation Page

 

 

 

 

 

 

Case number (if l<nown)

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

l:] Debtor1 only
m Debtor 2 only
m Debtor 1 and Debtor 2 only
ij At least one of the debtors and another
l:i Check if this claim is for a community debt
ls the claim subject to offset?
No
Yes

 

app|y.

l:l Contingent
unliquidated

l:l Disputed
Type of NONPR|ORlTY unsecured claim:
i:l Student loans

Obligations arising out of a separation agreement or
divorce that you did not report as priority claims
Debts to pension or profit-sharing plans, and other
similar debts
Other. Specify

 

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
431
:RO.F', EME,RG' PHYS‘ Last 4 digits of account number
onpriority Creditor's Name $ 50'00
3640 NEW VlS|ON DR., STE. A
Number Street When was the debt incurred?
FORT WAYNE |N 46845 As of the date you file, the claim is: Check all that
City State ZlP Code l
alpp Y-
who incurred the debt? check one. m Contingent
l:l Debtor 1 only Unliquidated
§ Debtor 2 only [:] Disputed
Debtor 1 and Debtor 2 only , _
l:l At least one of the debtors and another Type °f NONPR|ORlTY unsecured e|a'm'
_ _ _ _ _ |:l Student loans
m Check if this claim is for a community debt . . . . .
|:\ Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No L__l Debts to pension or profit-sharing plans, and other
|:l Yes similar debts
Other. specify lvl§picw§tl.
132 PROF REcovERY . .
. 2 . Last 4 digits of account number
Nonpriority Creditol"s Name $ 905.00
7319 W. JEFFERSON .
Number Street When was the debt incurred?
FORT WAYNE |N 46804 As of the date you file, the claim is: Check all that
City State ZlP Code j
app y-
who incurred the debt? check one. m Contingent
|Il Debtor 1 only Unliquidated
§ Debtor 2 only ij Disputed
Debtor 1 and Debtor 2 only _ _
l:l At least one of the debtors and another Type of NONPR|ORlTY unsecured e|a'm'
_ _ _ _ , l:l Student loans
l:] Check if this claim is for a community debt . . . , .
l:l Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No I:] Debts to pension or profit-sharing plans, and other
m Yes similar debts
Other. specify MuLTlee AccTs.
133 sELl<lNo lNT - -
. . . ' Last 4 digits of account number
Nonpriority Credilol“s Name $ 1 103.00
lgnet?er \;¥F'GSWY' 224 When was the debt incurred?
CD“‘;CATUR 'S';le §|§,703;§€ As of the date you file, the claim is: check all that

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Ciaims

page 2

 

 

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Debtor 1 FRED

First Name Middle Name

-Your NONPRlORlTY Unsecured Ciaims - Continuation Page

HEARD

Last Name

Case number (if known)

 

 

434 sNow & sAuERTElG

Nonpriority Crediiol”s Name

 

 

 

 

203 E. BERRY ST.. STE. 1100

Number Street

FORT WAYNE lN 46802
City State ZlP Code

Who incurred the debt? Check one.

|:l Debtor 1 only

[:1 Debtor 2 only

m Debtor 1 and Debtor 2 only

|:l At least one of the debtors and another

l:.i Check if this claim is for a community debt

ls the claim subject to offset?
No
l:i Yes

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

l:] Contingent

unliquidated

[:l Disputed

Type of NONPRlOR|TY unsecured claim:

\:i Student loans

ij Obligations arising out of a separation agreement or
divorce that you did not report as priority claims

m Debts to pension or proHt-sharing plans, and other
similar debts

Other. specify

Total claim

25.00

 

435 ST. JOE HEALTH/PASI

Nonpriority Creditor‘s Name

 

 

 

 

P.O. BOX 188
Number Street
BRENTWOOD TN 37024
City State ZlP Code

Who incurred the debt? Check one.

m Debtor1 only

\:i Debtor 2 only

l:l Debtor 1 and Debtor 2 only

L__l At least one of the debtors and another

|Il check if this claim is for a community debt

ls the claim subject to offset?
No
1:| Yes

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

1:1 Contingent

Unliquidated

l:l Disputed

Type of NONPR|ORlTY unsecured claim:

m Student loans

[:] Obligations arising out of a separation agreement or
divorce that you did not report as priority claims

m Debts to pension or profit-sharing plans, and other
similar debts

Other. Specify MEDlCAL COLLECT|ON

$ 2 162.00

 

436 sulvllvllT RAolol_ooY/si\low & sAuERTElo

 

 

 

 

 

Last 4 digits of account number

 

 

Nonpriority Creditofs Name $ 85'00
§gn?ber [SE!'IGZFRRY ST" STE' 1100 When was the debt incurred?
FORT WAYNE lN 46802 - - - .
City State ZlP Code As of the date you file, the claim ls. Check all that
apply.

Who incurred the debt? Check one. l:] Contingent
ij Debtor 1 only Unliquidated
l:] Debtor 2 only ['_‘| Disputed
1:| Debtor1 and Debtor 2 only _
l:l At least one of the debtors and another Type Of NONPR|ORlTY Unsecured Clalmf
l:l check if this claim is for a community debt m Student ‘°ans

1:.1 Obligations arising out of a separation agreement or
ls the claim Subject to offset? divorce that you did not report as priority claims
NO m Debts to pension or profit-sharing plans, and other

Yes similar debts
Othe|'t Specify MEDlCAL COLLECTlON
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Ciaims page 1 of 1

 

 

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Debtor 1 HEARD

Last Name

FRED

First Name Middle Name

Your NoNPRloRlTY unsecured claims - continuation Page

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
4.37
;;\/|QB.ltL[§/Ad‘.\t/|E% |NFOSOURCE Last 4 digits of account number
flelOl"ly fe lO S ama $ 16500
Number :t'rge'f BOX 248848 When was the debt incurred?
OKLAHOMA C|TY OK 73124 As of the date you file, the claim is: Check all that
city state zlP code app|y_
who incurred the debt? check one. m Contingent
l:l oeotor 1 only unliquidated
§ Debtor 2 only [__.1 Disputed
Debtor 1 and Debtor 2 only _ _
1:.1 At least one of the debtors and another Type of NONPR|ORlTY unsecured e|a'm'
_ _ _ _ _ m Student loans
l:] Check lf this claim is for a community debt , . , _ ,
1:] Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No l:l Debts to pension or profit-sharing plans, and other
1:] Yes similar debts
Other. Specinl
das
;RAA .t C d.t w N Last 4 digits of account number
OnPflOf|y fe lO S ante $ 22500
Number :\'ge`{ BOX 11724 When was the debt incurred?
FORT WAYNE lN 46860 As of the date you file, the claim is: Check all that
City State ZlP Code j
app y-
who incurred the debt? check one. 13 Contingent
l:l Debtor1 only Unliquidated
l[__ji Debtor 2 only l:\ Disputed
Debtor 1 and Debtor2 only _ _
l:l At least one of the debtors and another Type of NONPR|ORlTY unsecured e|a‘m'
_ , _ _ _ l:\ Student loans
1:1 Check if this claim ls for a community debt , . . , _
ij Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No l:l Debts to pension or profit-sharing plans, and other
m Yes similar debts
Other. specify M/,Ercpjcat
4.39
;RU.E {‘IEA;‘;H;* E|AGNOST|CS Last 4 digits of account number
OnpflOl’\ y fe lO S ama $ 11000
Sgr;ger §::EARCH RD` When was the debt incurred?
§i*;'SCO gte ;"5:009£€ As of the date you file, the claim is: check all that
apply~
Who incurred the debt? Check one. 1:1 Contingent
[:i Debtor 1 only Unliquidated
m Debtor 2 only |:] Disputed
1:1 Debtor 1 and Debtor 2 only
1:| At least one of the debtors and another Type Of NONPR\OR|TY Unsecured Claimi
ij Check if this claim is for a community debt m Student loans
iga ions arising ou o a separa lon agreemen or
l:l obll t‘ ‘ ' t f t' t
15 the C|aim SUbJ'€Ct fp Offset? divorce that you did not report as priority claims
go l:l Debts to pension or profit-sharing plans, and other
es similar debts
Other. Specify
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Ciaims page 14 of 1

 

 

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Debtor1 FRED HEARD

First Name Middle Name Last Name

mow NoNPRloRlTY unsecured claims - continuation Page

 

 

 

 

 

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

Number Street

 

City State ZlP Code

Who incurred the debt? Check one.
Debtor1 only

Debtor 2 only

Debtor1 and Debtor 2 only

At least one of the debtors and another

El[ll:ll:l

l:l check if this claim is for a community debt

ls the claim subject to offset?
|:| No

Yes

 

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
4.40
>\|/AP.D‘A§¥:.O|,ST'\:CS LAB‘ |NC' Last 4 digits of account number
onpriority re itc s ame $ 675.00
Number l;t'ge`t BOX 830674 When was the debt incurred?
B|Ri\/llNGHAl\/l AL 35283 As of the date you file, the claim is: Check all that
City State ZlP Code app|y_
who incurred the debt? check one. m Contingent
l:l Debtor 1 only Unliquidated
ll§ll Debtor 2 only |I] Disputed
Debtor 1 and Debtor 2 only _ _
l:] At least one of the debtors and another Type of NONPR'OR|TY unsecured ela'm'
_ _ _ _ _ [:] Student loans
1:1 Check if this claim is for a community debt _ . _ . _
l:l Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No 13 Debts to pension or profit-sharing plans, and other
m Yes similar debts
Other. Specify
141 wELlelARK .
. . . Last 4 digits of account number
Nonpriority Creditor's Name $ 25_00
Number §t‘r?e't BOX 9232 When was the debt incurred?
DES lVlO|NES |A 50306 As of the date you file, the claim is: Check all that
City State ZlP Code appjy_
Who incurred the debt? Check one. m Contingent
[:1 Debtor 1 only Unliquidated
1:] Debtor 2 onl 1:1 Disputed
m y
Debtor 1 and Debtor 2 only _ _
|:] At least one of the debtors and another Type of NONPRlOR|TY unsecured ela'm'
lIl ch i< 'f th' l ‘ ' f r 't d bt m Student loans
ec l is c alm ls o a commum y e 1:1 Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No 1:] Debts to pension or profit-sharing plans, and other
m Yes similar debts
Other. Specify
Nonpriority Creditops Name Last 4 digits of account number $

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

l:l Contingent

l:\ Unliquidated

l:l Disputed

Type of NONPR|ORlTY unsecured claim:

|:l Student loans

m Obligations arising out of a separation agreement or
divorce that you did not report as priority claims

l:| Debts to pension or profit-sharing plans, and other
similar debts

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Ciaims page

1:1 Other. Specify

__\

50f6

l
l

 

 

Case 18-11276-reg Doc 1 Fl|ed 07/11/18 Page 39 of 47
Debtor 1 FRED HEARD Case number (if known)

First Name Middle Name Last Name

Add the Amounts for Each Type of Unsecured Claim

 

 

1. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C, §159.
Add the amounts for each type of unsecured claim.

 

 

 

 

Total claim
Total Claims 6a. Domestic support obligations 6a. $ 0.00
from ParH 6b. Taxes and certain other debts you owe the
government 6b- $ 82.00
60. Ciaims for death or personal injury while you
were intoxicated 60. $ 000
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d.
+ $ _________ch
6e. Total. Add lines 6a through 6d. Ge.
$ _______QQQ
Total claim
Total Ciaims 6f. Student loans 6f. $ O'OO
from Part 2 69. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims 6g. $ __________OM
6h. Debts to pension or profit-sharing plans, and
other similar debts 6h. $ O'OO

6i. Other. Add all other nonpriority unsecured claims.
Write that amount here. 6i. + $ 103 370,00

____________x__._.

 

6]. Total. Add lines 6f through 6i. 6j.

$ 103,870.00

 

 

 

 

 

_\

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Ciaims page 6

l

0f1

 

 

 

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Fill in this information to identify your case:

Debtor1 FRED HEARD

Flrst Name Middle Name Last Name

ecoth 2 LlLA L HEARD

(Spouse, lf iiilng) First Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN Distncior IN

 

Case number
("k"°W"> l'_`l Check if this is an amended filihg.

 

Official Form 106(3
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any

additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
No. Check this box and file this form With the court with your other schedulesl You have nothing else to report on this form.
m Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contractor lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and

unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

 

2.1

 

 

 

Name

 

Number Street

 

City State ZlP Code

 

2.2

 

 

 

Name

 

Number Street

 

City State ZlP Code

 

2.3

 

 

 

Name

 

Number Street

 

City State ZlP Code

 

 

2.4

 

 

 

Name

 

Number Street

 

City State ZlP Code

 

2.5

 

 

 

 

Name

 

Number Street

 

City State ZlP Code

 

 

Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of _1_

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Fill in this information to identify your case:

Debtor1 FRED HEARD

First Name Middle Name Last Name

Debior 2 LlLA L HEARD

(Spouse, if l'lllng) Flrst Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN Districtor lN

Case number
(ifknown) |___l Check if this ls an amended filing.

 

 

Official Form 106H

Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible, lf two married
people are filing together, both are equally responsible for supplying correct information. |f more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

 

 

1. Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.)
No
m Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New l\/lexico, Puerto Rico, Texas, Washington, and Wisconsin.)

l:] No. Go to line 3.
[:i Yes. Did your spouse, former spouse, or legal equivalent live With you at the time?

l:lNo

l:l Yes. ln which community state or territory did you live? __. Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZlP Code

3. ln Column1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F(Of'ficial Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.
Column 1: Your codebtor Column 2.' The creditor to whom you owe the debt
Check all schedules that apply:

s_.rj

l:l Schedule D, line _

 

 

 

 

 

 

 

 

 

 

 

Name
l:l schedule E/F, line _
Number Street l:l schedule G, line _
City State ZlP Code
3.2 l
m Schedule D, line _
Name
l:l schedule E/F, line _
Number Street m Schedule G, line __
City State ZlP Code
3.3 l
m Schedule D, line _
Name
l:l schedule E/F, line _
Number Street m Schedule G, line _
City State ZlP Code

 

 

 

Official Form 106H Schedule H: Your Codebtors page 1 of L

 

 

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Fill in this information to identify your case:

Debtor1 FRED HEARD

Firsl Name Middle Name Last Name

Debtor 2 Li LA L HEARD

(Spouse, if fillng) First Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN Districror iN

 

Case number . . . _
(if known) Check if this is.
L__i /-\n amended filing

 

 

m A supplement showing post-petition chapter 13
income as of the following date:

foiCial FOi°m 106\ l\ilvl/DD/YYYY

 

Schedule i: Your income 1an

Be as complete and accurate as possibie. if two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing jointiy, and your spouse is living with you, include information about your
spouse, if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed,
attach a separate sheet to this forml On the top of any additional pages, write your name and case number (if known). Answer every question.

mescribe Employment

if you have more than one

job, attach a separate page m E l d m E l d
With information about Employment status mp °ye mp OYe
additional employers. Not employed Not employed

 

Debtor1 ' Debtor 2 or non-filing spouse

include part-time, seasonal,

or self-employed Wori<.
Occupation

 

Occupation may include
student or homemaker, if it
applies Employer’s name

 

Employer’s address

 

Number Street Number Street

 

 

 

City State ZlP Code City State ZlP Code

How tong employed there?

Give Details About Month|y income

 

Estimate monthly income as of the date you file this form. lt you have nothing to report for any iine, write $0 in the space. include your non-filing
spouse unless you are separated

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. if you
need more space, attach a separate sheet to this form.

 

 

 

 

For Debtor 2 or
For Debtor1 non-filing spousal
2. List monthly gross wages, saiary, and commissions (before all
payroll deductions). if not paid month|y, calculate What the monthly wage
would be. 2. $ 0.00 s 0.00
3. Estimate and list monthly overtime pay. 3. + s 0,00 + s 0.00
4. Caicuiate gross income. Add line 2 + line 3. 4. s 0.00 $ 0.00

 

 

 

 

 

 

 

 

Official Form 10tSl Schedule i: Your income page 1

 

 

 

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Debtor 1 FRED HEARD Case number (if known)
First Name Middle Name Last Name
For Debtor 2 or
For Debtor1 non-filing spouse t
Copy line 4 here ................................................................. -) 4. s 0.00 $ 0.00
5. List a||'payroil deductions:
5a. Tax, Medicare, and Sociai Security deductions 5a. $ 0.00 $ 0.00
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $ 0.00
50. Voluntary contributions for retirement plans 5e. $ 0.00 $ 0.00
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ 0.00
5e. insurance 5e. $ 0.00 $ 0.00
5f. Domestic support obligations 5f. $ 0.00 $ 0.00
5g. Union dues 5g. $ 0.00 $ 0.00
5h. Other deductions Specify: .. 5h. +$ 0.00 +$ 0.00
6. Add the payroll deductions. Add lines 5a + 5b + 50 + 5d + 5a +5f+ 59 +5h 6. $ 0.00 $ 0.00
7. Caicuiate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 0.00 $ 0.00
8. List ali other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a. $ 0.00 $ 0.00
Bb. interest and dividends 8b. $ 0.00 $ 0.00
Sc. Famiiy support payments that you, a non-filing spouse, or a
dependent regularly receive
include alimony, spousal support, child support, maintenance,
divorce settlementy and property settlement. 80. $ 0.00 $ 0.00
8d. Unempioyment compensation 8d. $ 0.00 $ 0.00
8e. Sociai Security 8e. 0.00 $ 1,320.00
8f. Other government assistance that you regularly receive
include cash assistance and the value (if know) of any non-cash
assistance that you receive, such as food stamps (benefits under the
Supplemental Nutrition Assistance Program) or housing subsidiesl
Specify: ADOPT|ON SUBS|DY 8f. $ 0.00 $ 1,770.00
89. Pension or retirement income 89. $ 0.00 $ 0.00
8h. Other monthly income. Specify: ..WORKMAN'S COi\/iP. 8h. +$ 3,380.00 +$ 0.00
9. Add all other income. Add lines 8a + 8b + 80 + 8d + 8e +Bf +8g +8h 9_ $ 31380_00 $ 3,090_00
10. Caicuiate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse, 10t $ 3,380.00 $ 3,090.00 = $ 6,470.00
11. State ali other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. + $ O_OO
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Re/ated Data, if it applies. 12. $ 6,470.00
` combined
monthly income
13. Do you expect an increase or decrease within the year after you file this form?
No.
i:] Yes. Explain:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 1061

Schedule i: Your income

page 2

 

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Fill in this information to identify your case:

Debtor1 FRED HEARD
First Name Middle Name Last Name
Check if this is:

Debtor 2 LlLA L HEARD m

An amended filing

(Spouse, if i'lling) First Name Middle Name Last Name

m A supplement showing post-petition chapter 13
United States Bankruptcy Court for the: NORTHERN Districtofi_N__~_______ income as of the following date:

Case number iVli\/| / DD / YYYY

(if known
) ij A separate filing for Debtor 2 because

Debtor 2 maintains a separate household

 

 

Official Form 106J
Schedule J: Your Expenses lens

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Describe Your Household

 

1. is this a joint case?
l:i No. co to line 2.
Yes. Does Debtor 2 live in a separate household?
No.
m Yes. Debtor 2 must file a separate Schedule J.

 

2. Do you have dependents [] No

 

 

 

 

 

Do not list Debtor1 and Yes. Fill out this information for B:g::rd:'(;tr’;;eg?;irogship t° aD;§e"dent’S agzsyr;ii')?endent live
Debtor 2. each dependent ...................
rl?;)n:i;;.state the dependent’s DAUGHTER 15 $:S
[:i No
DAuoHTER 12 Yes
ij No
son s Yes
i:i No
DAuGi-lTER 8 Yes
i:i No
i:i Yes

 

 

3. Do your expenses include NO
expenses of people other
than yourself and your [:| YeS'
dependents?

 

1 Part 2: Estimate Your Ongoing Montth Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date

include expenses paid for with non-cash government assistance if you know the value of

 

 

such assistance and have included it on schedule i: Your income (otficiai Form is cl.) Y°u'EXpe"S'~‘S g
4. The rental or home ownership expenses for your residence. include first mortgage
payments and any rent for the ground or lot. 4. $ 1,080.00
if not included on line 4:
4a. Real estate taxes 4a $ 0.00
4b. Property, homeowner’s, or renter’s insurance 4b, $ 0,00
4c. Home maintenance, repair, and upkeep expenses 4C_ 3 400_()0
4d. Homeowner’s association or condominium dues 4d. $ O_()O

_____________-______-

 

 

Official Form 106J Schedule J: Your Expenses l page 1

 

 

 

Debtor1 FRE[) HEARD Case number (if known)

Case 18-11276-reg Doc 1 Fl|ed 07/11/18 Page 45 of 47

First Name Middle Name Last Name

 

 

 

 

 

 

 

Your Expenses

 

 

 

 

 

 

 

 

 

5. Additional mortgage payments for your residence, such as home equity ioans. 5. $ d 000
6. Utiiities:
6a. Eleotricity, heat, natural gas 6a. $ 400.00
6b. Water, sewer, garbage collection 6b. $ 140.00
60. Te|ephone, cell phone, internet, satellite, and cable services 6c. $ 480.00
6d. Other. Specify: 6d. $ 0.00
7, Food and housekeeping supplies ` 7. $ 1,400.00
8. Chiidcare and children’s educational costs 8. $ 0.00
9. Ciothing, iaundry, and dry cleaning 9. $ 350.00
10. Personai care products and services 10. $ 150.00
11. Medicai and dental expenses 11. $ 250.00
12. Transportation. include gas, maintenance, bus ortrain fare.
Do not include car payments ‘ 12. $ 4_00.00
13. Entertainment, clubs recreation, newspapers, magazines, and books 13. $ 300.00
14. Charitable contributions and religious donations 14. $ 0.00
15. insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ 0.00
15b. Health insurance 15b. $ 0.00
15c. Vehicle insurance 150. $ 240.00
15d. Otherinsurance. Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $ 0.00
17. installment or lease payments:
17a. Car payments for Vehic|e 1 17a. $ 920.00
17b. Car payments forVehicle 2 17b. $ 0.00
17c. Other. Specify: 17c. $ 0.00
17d. Other, Specify: 17d. $ 0.00
18. ¥our payments of aiimony, maintenance, and support that you did not report as deducted
from you pay on line 5, Schedule I, Your Incoine (Official Form B 6i). 18. $ 0.00
19. Other payments you make to support others who do not live with you.
Specify: 19. $ 0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Yourlncome:
20a. l\/lortgages on other property 20a. $ 000
20b. Real estate taxes 20b. $ 0.00
200. Property. homeowner’s, or renter’s insurance 200. $ 0.00
20d. l\/laintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner’s association or condominium dues ' 20e. $ 000
Official Form 106J Schedule J: Your Expenses page 2

 

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Debtor 1 FRED HEARD Case number (if known)
Firsl Name Middle Name Last Name
21. Other. Specify: 21. $ 0.00
22. Caicuiate your monthly expenses
22a. Add lines 4 through 21. $ 6,510.00 `
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2. $ 0.00
22c. Add lines 22a and 22b. The result is your monthly expenses 22_ $ 6,510_00
23. Caicuiate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule l. 23a. $ 6,470.00
23b. Copy your monthly expenses from line 22 above. 23b. -$ 6,510.00

 

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

23c. $ -40.00
24. Do you expect an increase or decrease in your expenses within the year after you file this form?:

For example, do you expect to finish paying for your car loan Within the year or do you expect your
mortgage payment to increase or decrease because of a modification in the terms of your mortgage?

No.
i:i Yes. Explain here:

 

 

 

 

 

 

 

 

 

iOfficial Form 106J Schedule J: Your Expenses page 3

 

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Fill in this information to identify your case:

Debtor1 FRED HEARD

Firsl Name Middle Name Last Name

Debtor 2 LlLA L HEARD

(Spouse, lf filing) Flrst Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN District cr iN

C b . . .
(:::or&u;n er l:l Check if this ls an
amended filing

 

Official Form 106Dec
Deciaration About an individual Debtor’s Scheduies ms

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. iiliaking a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

lig“ Be'°"“

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

-No

ij Yes. Name of person l . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature
(Ofncial Form 119).

 

Under penalty of perjury, i declare that l have read the summary and schedules filed with this declaration and that

they are true and correct_
@W M%M/ o tuesdach

Signature of Debtor 1 Signature of Debtor 2

X>Date §;ézz'¢§ XDate 7 69 ZQIA
/DD YYY lvllvl/DD/YYYY

  
 

 

 

Official Form 106Dec Declaration About an individual Debtor’s Scheduies l page 1

 

 

